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            Exhibit 7
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                                         BPCA000195

Torres, Alexis
From:                       Singh, Seema
Sent:                       Tuesday, March 17, 2015 3:07 PM
To:                         Hyman, Shari; Pustilnik, Alix
Cc:                         Torres, Alexis
Subject:                    RE: Anonymous


He called me a cunt, and then I hung up. For the file.


From: Singh, Seema
Sent: Tuesday, March 17, 2015 3:01 PM
To: Hyman, Shari; Pustilnik, Alix
Cc: Torres, Alexis
Subject: RE: Anonymous

That's essentially what he said to me. And he asked if I'd been fired (without realizing he was talking to me).

From: Hyman, Shari
Sent: Tuesday, March 17, 2015 2:54 PM
To: Singh, Seema; Pustilnik, Alix
Cc: Torres, Alexis
Subject: RE: Anonymous

He called me too - on my personal cell. Didn't identify himself but I recognized the voice. He started to speak about
fake posts by Bob Serpico and I hung up.

From: Singh, Seema
Sent: Tuesday, March 17, 2015 2:47 PM
To: Hyman, Shari; Pustilnik, Alix
Subject: Anonymous

I don't know if you are still keeping track. Anonymous just called me - I'm assuming it was SG. He refused to give his
name, and I didn't give him mine. He had a rambling story about potentially fake posts that people were trying to get
him to make involving me. And then he got offensive, and I hung up.




                                                             l
